Case 1:17-cv-01407-CFC-SRF Document 696 Filed 10/01/20 Page 1 of 2 PagelD #: 45793

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

GENENTECH, INC. and
CITY OF HOPE,

Plaintiffs,
Vv. Civ. No. 17-1407-CFC

AMGEN INC.,

Defendant and
Counterclaim Plaintiff.

New? Neue” Neve” Nee Nee Samet” Nene” “nee” “Nee” Nee Sree”

 

GENENTECH, INC. and
CITY OF HOPE,

Plaintiffs,
V. Civ. No. 18-924-CFC

AMGEN INC.,

Defendant and
Counterclaim Plaintiff.

New’ “wee” Nee “emma” Sener!” Nene Nee” “ee” ee” Nee” eee”

ORDER
os (SF ; ,
At Wilmington this *" day of October, 2020, having considered the Report
and Recommendation issued by Special Master Rodney A. Smolla on September 2,
2020, and upon the expiration of the time allowed for objections pursuant to Rule

72 of the Federal Rules of Civil Procedure with no objections having been filed;
Case 1:17-cv-01407-CFC-SRF Document 696 Filed 10/01/20 Page 2 of 2 PagelD #: 45794

IT IS ORDERED that Special Master Smolla’s Report and Recommendation

(D.I. 694 in Civil Action No. 17-1407-CFC, D.I. 558 in Civil Action No. 18-927-

Lb States District 7 Oo

CFC) is adopted.

 
